                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          January 07, 2020


       No.:                      20-15019
       D.C. No.:                 2:16-cv-01129-RFB-DJA
                                 The Bank of New York Mellon v. SFR Investments Pool
       Short Title:
                                 1, LLC, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      JAN 07 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 THE BANK OF NEW YORK                           No. 20-15019
 MELLON, as Trustee for the
 Certicateholders of CWMBS, INC.
                                                D.C. No. 2:16-cv-01129-RFB-DJA
 CHL Mortgage Pass-Through Trust
 2005-HYB 6 Mortgage Pass-Through               U.S. District Court for Nevada, Las
 Certificates Series 2005-HYB6, FKA             Vegas
 The Bank of New York,
                                                TIME SCHEDULE ORDER
               Plaintiff - Appellee,

   v.

 SFR INVESTMENTS POOL 1, LLC,

               Defendant - Appellant,

  and

 SBH 2 HOMEOWNERS'
 ASSOCIATION; NEVADA
 ASSOCIATION SERVICES, INC.,

               Defendants.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.
Tue., January 14, 2020      Appellant's Mediation Questionnaire due. If your
                            registration for Appellate CM/ECF is confirmed after
                            this date, the Mediation Questionnaire is due within
                            one day of receiving the email from PACER
                            confirming your registration.
Wed., February 5, 2020      Transcript shall be ordered.
Fri., March 6, 2020         Transcript shall be filed by court reporter.
Wed., April 15, 2020        Appellant's opening brief and excerpts of record
                            shall be served and filed pursuant to FRAP 31 and
                            9th Cir. R. 31-2.1.
Fri., May 15, 2020          Appellee's answering brief and excerpts of record
                            shall be served and filed pursuant to FRAP 31 and
                            9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT

                                             By: John Brendan Sigel
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
